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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION



         STEPHEN CROCKER,
                                                                                      1:24-CV-01525-RP
-vs-                                                                 Case No.:



         CASSAVA SCIENCES, INC., et aI.,




                           MOTION FOR ADMISSION PRO JIAC VICE


TO THE HONORABLE JUDGE OF SAID COURT:

        Comes now _ _ _J_er_em_y:......A_._L_ie_be_rm_an_ _ __ _ _ _ _ _ , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of
                     Carlos Perez-Cotapos Ugarte, Maria Isable Ureta Bazan, Carlos Perez-Cotapos Subercaseaux,
Texas pro hac vice to represent        II  and Inversiones Ane Miren Limitada           in this case, and would

respectfully show the Court as follows:

1.      Applicant is an attorney and a member of the law firm (or practices under the name ot)

                POMERANTZ LLP


        with offices at
                                                   600 Third Avenue, Floor 20
                Mailing address:
                                                   New York, New York 10016
                City, State, Zip Code:
                                                   212-661-1100
                Telephone:
                                                   917 -463-1044
                Facsilnile:
                                                   jalieberman@pomlaw.com
                Email:
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2.     Since _ _2_0_0_3_ _ _ _ _ _ _, Applicant has been and presently is a member of and in

       good standing with the Bar of the State of __N_e_W_Y_O_rk_ _ _ _ _ _ _ _ __

       Applicant's bar license number is _4_1_61_3_52__________

3.     Applicant has been adtnitted to practice before.the following courts:

       Court:                                                  Admission date:

                  See Exhibit 1



                                                         I


                                                         t.,
                                                               -----------------------


4.     Applicant is presently a member in good standing of the bars of the courts listed above,

       except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):
                  Not applicable.




5.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as provided

      below:
                  Not applicable.




6.    Applicant has not been charged, arrested, or convicted of a criminal. offense or offenses,

      except as provided below (omit minor traffic offenses):

                  Not applicable.



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7.      Applicant has read and is familiar with the Local Rules of the Western District of Texas and

        will comply with the standards of practice set out therein.

8.      Select one:

       D       Applicant has on file an application for admission to practice before the United

               States District Court for the Western District of Texas.

       []      Applicant has co-counsel in this case who is adnlitted to practice before the United

               States District Court for the Western District of Texas.

               Co-counsel:              Willie C. Briscoe


               Mailing address:         THE BRISCOE LAW FIRM, PLLC, 12700 Park Central Drive, Suite 520,


               City, State, Zip Code:            Dallas, Texas 75251

               Telephone:               972-521-6868

9.     Should the Court grant applicant's motion~ Applicant shall tender the amount of$1 00.00

       pro hac vice fee in c0l11pliance with Local Court Rule AT-I (t)(2) [checks made payable

       to: Cle.·k, u.s. District Court].

10.    Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

       days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

       in Civil and Criminal Cases in the Western District of Texas.




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Wherefore, Applicant prays that this Court enter an order permitting the admission of
 Jeremy A. Lieberman
-------------------------------------- to the Western District of Texas pro hac vice
for this case only.

                                            Respectfully submitted,


                                                 Jeremy A. Lieberman
                                            [printed . me of Applicant]

                                                        , ------             ~.
                                                       of Applicant]




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                           Exhibit 1 - Jeremy A. Lieberman Court Admissions



                 Court                           Admission Date




                 Supreme Court, State of New
                                                 Wednesday, September 17, 2003
                 York, Second Department




                 United States District Court,
                                               Tuesday, January 10, 2006
                 Southern District of New York




                 United States District Court,
                                                 Tuesday, January 10, 2006
                 Eastern District of New York




                                                Monday, November 09, 2009
                                                (admitted); Wednesday, October 29,
                 United States Court of Appeals 2014 (renewed); Wednesday,
                 for the Second Circuit         September 11, 2019 (renewed);
                                                Thursday, September 19, 2024
                                                (renewed)




                 United States Court of Appeals
                                                Thursday, March 3, 2011
                 for the Ninth Circuit




                 United States District Court,
                                                 Friday, August 31, 2012
                 Northern District of Illinois




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                           Exhibit 1 - Jeremy A. Lieberman Court Admissions



                                                  Admission Date



                                                  Tuesday, November 26, 2013
                 United States District Court
                                                  (admitted); Tuesday, October 31,
                 Southern District of Texas '
                                                  2023 (renewed)




                 United States Court of Appeals
                 for the Third Circuit          Friday, January 31, 2014




                 United States Court of Appeals
                 for the Tenth Circuit          Wednesday, March 5, 2014




                                                  Friday, June 13, 2014 (admitted);
                 United States District Court
                                                  Tuesday, September 29, 2020
                 District of Colorado         '
                                                  (renewed)




                 United States District Court,
                                                  Thursday, June 19,2014
                 Eastern District of Michigan




                 United States Court of Appeals
                 for the Sixth Circuit          Friday, January 30,2015




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                           Exhibit 1 - Jeremy A. Lieberman Court Admissions



                 Court                           Admission Date


                                                                  I



                 United States Court of Appeals
                                                Thursday; June 1:1; 2015
                 for the Fourth Circuit




                 United States Court of Appeals
                                                Wednesday, April 6, 2016
                 for the Eleventh Circuit




                 Supreme Court of the United
                                                 Monday, November 27, 2017
                 States




                 United States District Court,
                                               Tuesday, March 26, 2019
                 Northern District of New York




                 United States Court of Appeals
                                                Thursday, June 13, 2019
                 for the First Circuit




                 United States District Court,
                                                 Thursday, September 26, 2019
                 Western District of New York




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                           Exhibit 1 - Jeremy A. Lieberman Court Admissions



                 Court                           Admission Date




                 United States Court of Appeals
                                                Tuesday, October 6, 2020
                 for the Fifth Circuit




                 United States District Court,
                                                 Tuesday, November 30, 2021
                 Eastern District of Wisconsin




                 United States District Court,
                                                 Tuesday, August 20, 2024
                 Northern District of Texas




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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DIST.R ICT O.F TEXAS
                                        AUSTIN DIVISION

       STEPHEN CROCKER,
                                                                                        1:24-CV-0 1525-RP
-vs-                                                                   Case No.



       CASSAVA SCIENCES, INC., et aI.,


                                                   ORDER


         BE IT REMEMBERED on this the _ _ _ day of _ _ _ _ _ _ _ , 20_ _ , there

was    presented     to      the   Court   the   Motion     for   Admission       Pro    J-Iac   Vice     filed   by
                                      Carlos Perez-Cotapos Ugarte, Maria Isable Ureta Bazan, Carlos Perez-Cotapos Subercaseaux,
       Jeremy A. Lieberman              ("Applicant"), counsel for II and Inversiones Ane Miren Limitada and

the Court, having reviewed the motion, enters the following order:

         IT IS ORDERED that the Motion for Admission Pro l-lac Vice is GRANTED. and Applicant
              Carlos Perez-Cotapos Ugarte, Maria Isable Ureta Bazan, Carlos Perez-Cotapos Subercaseaux,
may appear on behalf of         II  and Inversiones Ane Miren Limitada in the above case.

         IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT -1 (f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

        IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas. shall

register as a filing user within 10 days of the date of this Order.

        IT IS FINALL Y ORDERED that Applicant's Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

        SIGNED this the _ _ _ day of _ _ _ _ _ _ _ _ _ 20




                                                    UNITED STATES DISTRICT JUDGE
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

 STEPHEN CROCKER, Individually and on              Case No. 1:24-cv-01525-RP
 Behalf of All Others Similarly Situated,
                                                   CERTIFICATE OF SERVICE
                         Plaintiff,

                 v.

 CASSAVA SCIENCES, INC., RICHARD
 JON BARRY, and JAMES W. KUPIEC,

                         Defendants.


         I hereby certify that I caused to be served a true and correct copy of this motion by ECF

upon the attorneys of record set forth on the following service list and the original by ECF upon

the Clerk of Court on this the __18__ day of February, 2025.



                                                   Respectfully submitted,



                                                   _/s/Willie C. Briscoe__________________ _
                                                   WILLIE C. BRISCOE
                                                   State Bar Number 24001788
                                                   THE BRISCOE LAW FIRM, PLLC
                                                   12700 Park Central Drive, Suite 520
                                                   Dallas, Texas 75251
                                                   Phone: 972-521-6868
                                                   Fax: 281-254-7789
                                                   Email: wbriscoe@thebriscoelawfirm.com

                                                   Counsel for the Pérez-Cotapos Family and
                                                   Proposed Liaison Counsel for the Class




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 Mailing Information for a Case 1:24-cv-01525-RP Crocker v. Cassava
 Sciences, Inc. et al
 Electronic Mail Notice List

 The following are those who are currently on the list to receive e-lnail notices for this case.

      • Adam M. Apton
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        sponsel@smglawgroup.com,chloe@smglawgroup.com,saln@smglawgroup.com

      • Bruce W. Steckler
        bruce@stecklerlaw.com,robyn@stecklerlaw.com,jamie@swclaW.com

 Man ual Notice List

 The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore
 require manual noticing). You may wish to use your mouse to select and copy this list into your word processing
 program in order to create notices or labels for these recipients.

 Carlos Perez-Cotapos Ugarte
 Pomerantz LLP
 600 Third Avenue, 20th Floor
 New York, NY 10016




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